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6               IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

8

9    LAWRENCE ROBINSON,                )       No. CV-F-02-5418 OWW
                                       )       (No. CR-F-97-5129 OWW)
10                                     )
                                       )       MEMORANDUM DECISION AND
11                   Petitioner,       )       ORDER DENYING PETITIONER'S
                                       )       MOTION TO LEAVE TO FILE TWO
12             vs.                     )       SUPPLEMENTAL ISSUES (Doc.
                                       )       369)
13                                     )
     UNITED STATES OF AMERICA,         )
14                                     )
                                       )
15                   Respondent.       )
                                       )
16                                     )

17        By Memorandum Decision and Order filed on October 23, 2007

18   (Doc. 366), Petitioner's motion to vacate, set aside or correct

19   sentence pursuant to 28 U.S.C. § 2255 was denied.

20        On November 19, 2007, Petitioner filed a motion for leave to

21   file two supplemental issues pursuant to Rule 15(c), Federal

22   Rules of Civil Procedure.     Petitioner contends that, on September

23   1, 2007, he obtained a copy of the transcript of the change of

24   plea proceedings on June 8, 2000 in State of North Carolina v.

25   Omar Lee August, File No. 98 CRS 38585.         Petitioner claims that

26   this transcript established that government witness Omar August

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1    lied during his testimony at trial and that the United States

2    knowingly withheld material evidence or knowingly used or failed

3    to correct the perjured testimony of Omar August.

4         Petitioner cannot rely on Rule 15(c), Federal Rules of Civil

5    Procedure, to amend his Section 2255 motion to include the claims

6    he seeks to assert.     Petitioner’s Section 2255 motion was timely

7    filed on August 8, 2002.1     Petitioner’s Section 2255 motion

8    contended he suffered (1) prosecutorial misconduct because the

9    Government solicited false and misleading testimony before the

10   Grand Jury resulting in the Indictment and (2) ineffective

11   assistance of counsel during pre-trial, trial and appellate

12   proceedings because defense counsel failed to “take appropriate

13   steps necessary in objecting and filing suppression motions to

14   preserve Petitioner’s constitutional right to challenge federal

15   jurisdiction under the Hobbs Act.”         As detailed in the

16   Memorandum Decision and Order filed on October 23, 2007,

17   Petitioner’s claims were based on his contention that, because of

18   evidence that Videotronics’ business license had expired on March

19   31, 1996, the business could not have been operating in

20   interstate commerce.

21        In Mayle v. Felix, 545 U.S. 644 (2005), the Supreme Court

22   held that the Ninth Circuit’s understanding of the relation-back

23   standard under Rule 15(c) which allowed an amendment to a habeas

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          1
           By Order filed on September 6, 2006, Petitioner’s motion was
25   dismissed as untimely (Doc. 351). However, by Order filed on June
     12, 2007, Petitioner’s motion to vacate the September 6, 2006 Order
26   was granted (Doc. 362).

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1    petition to “relate back” to the date of the original petition

2    “so long as the new claim stems from the habeas petitioner’s

3    trial, conviction or sentence” was too broad.         The Supreme Court

4    held that an amended claim in a habeas petition relates back for

5    statute of limitation purposes only if it shares a “common core

6    of operative facts” with the original claim or claims.

7         There is no “common core of operative facts” between the

8    claims alleged in the Petitioner’s Section 2255 motion and the

9    claims he seeks to add by amendment under Rule 15(c) based on his

10   contention that Omar August lied at the time he testified in

11   Petitioner’s case that he did not expect any leniency in the

12   North Carolina state court proceedings in return for his trial

13   testimony and that the United States knowingly withheld material

14   evidence and knowingly used or failed to correct August’s

15   perjured testimony.

16        By Memorandum Decision and Order filed on October 23, 2007

17   (Doc. 366), Petitioner's motion to vacate, set aside or correct

18   sentence pursuant to 28 U.S.C. § 2255 was denied.         Petitioner

19   could argue that the motion to amend arguably be deemed a motion

20   for relief from judgment pursuant to Rule 60(b), Federal Rules of

21   Civil Procedure.   Even if so deemed, Petitioner would not be

22   entitled to relief because Petitioner is attempting to file a

23   second or successive petition and must first obtain authorization

24   from the Ninth Circuit Court of Appeals to do so.         In Thompson v.

25   Calderon, 151 F.3d 918, 921 (9th Cir.), cert. denied, 524 U.S.

26   965 (1998), the Ninth Circuit explained:

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1              In most cases when the factual predicate for
               a Rule 60(b) motion also states a claim for a
2              successive petition under 28 U.S.C. § 2244(b)
               ..., the Rule 60(b) motion should be treated
3              as a successive habeas petition. This is
               consistent with general habeas corpus
4              jurisprudence, for a ‘Rule 60(b) motion
               following the entry of a final judgment in a
5              habeas case raises policy concerns similar to
               those implicated by a second petition ....’
6              ....

7    In Gonzalez v. Crosby, 545 U.S. 524 (2005), the Supreme Court

8    discussed the interaction between Rule 60(b), Federal Rules of

9    Civil Procedure, and the AEDPA.      After noting that the AEDPA and

10   its decisions make clear that a “claim” “is an asserted federal

11   basis for relief from a ... judgment of conviction”, id. at 530,

12   the Supreme Court stated:

13             In some instances, a Rule 60(b) motion will
               contain one or more ‘claims.’ For example,
14             it might straightforwardly assert that owing
               to ‘excusable neglect.’ Fed. Rule Civ. Proc.
15             60(b)(1), the movant’s habeas petition had
               omitted a claim of constitutional error, and
16             seek leave to present that claim ...
               Similarly, a motion might seek leave to
17             present ‘newly discovered evidence,’ Fed.
               Rule Civ. Proc. 60(b)(2), in support of a
18             claim previously denied ... Or a motion might
               contend that a subsequent change in
19             substantive law is a ‘reason justifying
               relief,’ Fed. Rule Civ. Proc. 60(b)(6), from
20             the previous denial of a claim ... Virtually
               every Court of Appeals to consider the
21             question has held that such a pleading,
               although labeled a Rule 60(b) motion, is in
22             substance a successive habeas petition and
               should be treated accordingly ....
23
               We think those holdings are correct. A
24             habeas petitioner’s filing that seeks
               vindication of such a claim is, if not in
25             substance a ‘habeas corpus application,’ at
               least similar enough that failing to subject
26             it to the same requirements would be

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1              ‘inconsistent with’ the statute. 28 U.S.C. §
               2254 Rule 11. Using Rule 60(b) to present
2              new claims for relief from a state court’s
               judgment of conviction - even claims couched
3              in the language of a true Rule 60(b) motion -
               circumvents AEDPA’s requirement that a new
4              claim be dismissed unless it relies on either
               a new rule of constitutional law or newly
5              discovered facts. § 2244(b)(2). The same is
               true of a Rule 60(b)(2) motion presenting new
6              evidence in support of a claim already
               litigated: even assuming that reliance on a
7              new factual predicate causes that motion to
               escape § 2244(b)(1)’s prohibition of claims
8              ‘presented in a prior application,’ §
               2244(b)(2)(B) requires a more convincing
9              factual showing than does Rule 60(b).
               Likewise, a Rule 60(b) motion based on a
10             purported change in the substantive law
               governing the claim could be used to
11             circumvent § 2244(b)(2)(A)’s dictate that the
               only new law on which a successive petition
12             may rely is ‘a new rule of constitutional
               law, made retroactive to cases on collateral
13             review by the Supreme Court, that was
               previously unavailable.’ In addition to the
14             substantive conflict with AEDPA standards, in
               each of these three examples use of Rule
15             60(b) would impermissibly circumvent the
               requirement that a successive habeas petition
16             be precertified by the court of appeals as
               falling within an exception to the
17             successive-petition bar. § 2244(b)(3).

18             In most cases, determining whether a Rule
               60(b) motion advances one or more ‘claims’
19             will be relatively simple. A motion that
               seeks to add a new ground for relief ... will
20             of course qualify. A motion can also be said
               to bring a ‘claim’ if it attacks the federal
21             court’s previous resolution of a claim on the
               merits, since alleging that the court erred
22             by denying habeas relief on the merits is
               effectively indistinguishable from alleging
23             that the movant is, under the substantive
               provisions of the statutes, entitled to
24             habeas relief.

25   Id. at 531-532.    However, the Supreme Court ruled:

26             That is not the case ... when a Rule 60(b)

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1               motion attacks, not the substance of the
                federal court’s resolution of a claim on the
2               merits, but some defect in the integrity of
                the federal habeas proceedings.
3
     Id. at 532.   The Supreme Court noted:
4
                Fraud on the federal habeas court is one
5               example of such a defect. See generally
                Rodriguez v. Mitchell, 252 F.3d 191, 199 (CA2
6               2001)(a witness’s allegedly fraudulent basis
                for refusing to appear at a federal habeas
7               hearing ‘relate[d] to the integrity of the
                federal habeas proceeding, not to the
8               integrity of the state criminal trial’). We
                note than an attack based on the movant’s own
9               conduct, or his habeas counsel’s omissions,
                see, e.g., supra, at 530-531, ordinarily does
10              not go to the integrity of the proceedings,
                but in effect asks for a second chance to
11              have the merits determined favorably.

12   The claims Petitioner seeks to add by amendment do not implicate

13   the integrity of the Section 2255 proceedings but, rather the

14   integrity of the trial proceedings resulting in his conviction.

15   Therefore, Petitioner is attempting to assert claims in a second

16   or successive Section 2255 motion.        This Court does not have

17   jurisdiction to consider the claims unless and until Petitioner

18   obtains authorization to file a second or successive Section 2255

19   motion for the Ninth Circuit Court of Appeals.          United States v.

20   Allen, 157 F.3d 661, 664 (9th Cir. 1998).        The alleged facts of

21   whether a witness was provided leniency was covered extensively

22   on cross-examination at trial.       The witness August testified in

23   Petitioner’s trial on January 29, 1999.         August was sentenced on

24   June 8, 2000 in North Carolina.       These alleged facts were easily

25   ascertainable, but have not been timely asserted.

26        ACCORDINGLY, as set forth above, Petitioner Lawrence

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1    Robinson’s motion for leave to file two supplemental issues

2    pursuant to Rule 15(c), Federal Rules of Civil Procedure is

3    DENIED.

4          IT IS SO ORDERED.

5    Dated:    December 5, 2007             /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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